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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                  CASE NO. 20-21964-CIV-ALTONAGA/Goodman

  SECURITIES AND EXCHANGE
  COMMISSION,

          Plaintiff,
  v.

  TCA FUND MANAGEMENT
  GROUP CORP., et al.,

          Defendants,

  TCA GLOBAL CREDIT FUND, LP, et al.,

        Relief Defendants.
  _____________________________________/

       WHISTLEBLOWER’S, THOMAS DAY, NOTICE OF WITHDRAWAL OF
   WHISTLEBLOWER’S MOTION AND INCORPORATED MEMORANDUM OF LAW
           SEEKING CLARIFICATION ON SCOPE OF BLANKET STAY
                AND RELIEF FROM THE SAME [ECF No. 209]

         Whistleblower, Thomas Day, through undersigned counsel, hereby withdraws his
  previously filed Whistleblower’s, Thomas Day, Notice of Withdrawal of Whistleblower’s Motion
  and Incorporated Memorandum of Law Seeking Clarification on Scope of Blanket Stay and Relief
  from the Same [ECF No. 209]. Day hereby withdraws the aforementioned Motion in its entirety.
          Respectfully submitted this      10th day of May, 2022.

                                             By:           BUCKLEY BEAL, LLP

                                                           s/ Edward D. Buckley
                                                            Edward D. Buckley
                                                           Pro Hac Vice Pending
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  Whistleblower’s, Thomas Day, Notice of Withdrawal of Motion [ECF No. 209]
  CASE NO. 20-21964-CIV-ALTONAGA/Goodman




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                                                           HESS LAW FIRM

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                                                           Attorneys for Whistleblower

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May          10th , 2022, a copy of the foregoing was served

  via CM/ECF Notification and/or U.S. Mail to all parties and notification of such filing to all

  CM/ECF participants in this case.

                                             s/ Ephraim R. Hess
                                             Ephraim Roy Hess, Esquire




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